Case 1:21-cr-00084-PLF Document157_ Filed 11/14/24 Pagelofi

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
UNITED STATES OF AMERICA )
)
Vv. ) Criminal No. 21-0084 (PLF)

)
CODY PAGE CARTER CONNELL and __)
DANIEL PAGE ADAMS, )
)
Defendants. )
)

ORDER

The Joint Defense Motion to Continue Sentencing [Dkt. No. 155] is DENIED.
Whatever the President-elect may or may not do with respect to some of those convicted for their
conduct at the Capitol on January 6, 2021, is irrelevant to the Court’s independent obligations
and legal responsibilities under Article III of the Constitution.

The sentencing will go forward as scheduled on December 10, 2024 at 10:00 a.m.
in Courtroom 29 in the William B. Bryant Annex to the E. Barrett Prettyman Courthouse at 333

Constitution Avenue N.W., Washington, D.C. 20001. See Order [Dkt. No. 152].

PAUL L. FRIEDMAN
United States District Judge

SO ORDERED.

DATE: w\e \ad
